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Section 10.06 Release and Replenishment of Security
A.      Each Party shall release its interest in the Security provided by the other Party promptly
after this Agreement is terminated or expires, and after the other Party has fully performed its
obligations hereunder.

B.     If Seller accesses or draws on the Security provided by Buyer and applies any of it to
Buyer's obligations, then within five (5) Business Days after it receives written notice from
Seller of such access and application, Buyer shall provide additional Security in an amount
necessary to restore the amount of the Security to the level required under this Agreement.

c.      If Buyer accesses or draws on the Security provided by Seller and applies any of it to
Seller's obligations, then within five (5) Business Days after it receives written notice from
Buyer of such access and application, Seller shall provide additional Security in an amount
necessary to restore the amount of the Security to the level required under this Agreement.

Section 10.07 Incorporation of Rights
Seller agrees to incorporate into its financing agreements, service agreements, supply
agreements, interconnection and transmission agreements, together with all other permits,
licenses and agreements material to the ownership or operation of the Renewable Resource
Facility (but only to the extent permitted by Applicable Law), all terms, provisions and
conditions required to implement, and empower Buyer to exercise all of the right and remedies
provided to Buyer in this Agreement; and Seller agrees and covenants to take no subsequent
actions, or make any subsequent amendments or agreements, which will contravene or impair in
any way Buyer's rights hereunder.

Section 10.08 Survival
This Article X survives the termination or expiration of this Agreement.

                                  Article XI. Confidentiality

Section 11.01 Scope
Each Party agrees, and shall cause its parent, subsidiary and affiliated corporations, and its and
their respective directors, officers, employees and representatives, as a condition to receiving
confidential information hereunder, to keep confidential (a) this Agreement, (b) all negotiations
concerning this Agreement, (c) all documents, data, drawings, studies, projections, plans and
other information, whether oral or written, that relate to economic benefits to or amounts payable
by either Party under this Agreement. The provisions of this Section 11.01 shall survive and
shall continue to be binding upon the Parties for period of one (1) year following the date of
termination of this Agreement. Notwithstanding the foregoing, information shall not be
considered confidential which (i) was in the public domain prior to disclosure, (ii) was lawfully
in a Party's possession or acquired by a Party outside of this Agreement, which acquisition was
not known by the receiving Party to be in breach of any confidentiality obligation, or (iii)
developed independently by a Party based solely on information that is not considered
confidential under this Agreement.




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Section 11.02 Confidential
"Confidential" means that information or a document, including the content, substance, or effect
of the information or document, may not be disclosed, discovered, or distributed to any other
person, corporation, or other entity, (a) except under the valid order of an administrative or
judicial officer having jurisdiction, which order, subject to Section l1.03B and C below, shall be
opposed unless opposition to it is waived in writing by each Party to this Agreement, or (b)
except as provided in Section 11.03. A Party is not required to oppose any order requiring
disclosure in any judicial or administrative proceeding by appeal, separate legal proceeding, or
extraordinary measures if it gives the other Party written notice of the order, and the other Party
does not, within 10 days after receiving the notice, agree to pay the reasonable costs of any
opposition by appeal, separate legal proceeding, or extraordinary measures.

Section 11.03 Exceptions
Either Party may, without violating this Article XI, disclose matters that are made confidential by
this Agreement:

A.      to actual or prospective, co-owners, Lenders, underwriters, contractors, suppliers, and
others. involved in construction, operation, and financing transactions and arrangements for a
Party or its subsidiaries, affiliates, or parent, if the Party making the disclosure obtains, as a
condition precedent to the disclosure, a confidentiality agreement with the person, corporation,
or other entity to whom the disclosure is being made with terms substantially the same as this
Article XI; and

B.      to governmental officials and parties involved in any proceeding in which either Party is
seeking a permit, certificate, or other regulatory approval or order necessary or appropriate to
carry out this Agreement, but the Party making the disclosure shall make reasonable efforts to
restrict public access to the information disclosed, by protective order or otherwise; to
governmental officials or the public as required by any law, regulation, or order, including
without limitation laws or regulations requiring disclosure of fmancial information, information
material to fmancial matters, and filing of fmancial reports, but the Party making the disclosure
shall make reasonable efforts to restrict public access to the information disclosed, by protective
order or otherwise.

Buyer may also disclose any documents or other information made confidential under this
Agreement as it deems necessary or advisable to obtain any regulatory approval or action that it
deems necessary or advisable, including without limitation the awarding of renewable energy
credits, but Buyer shall make reasonable efforts to restrict public access to the information
disclosed, by protective order or otherwise. Additionally, subject to the obligation to maintain
the confidentiality of information disclosed to third parties and as it applies to disclosures to non-
governmental third parties pursuant to Section 11.03, either Party may disclose any documents or
other information made confidential under this Agreement as necessary to perform such Party's
obligations under this Agreement.

Section 11.04 Specific Performance
It will be impossible or very difficult to measure in terms of money the damages that would
accrue due to any breach of this Article XI, or any failure to perform any obligation contained in


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this Article XI, and, for that reason, among others, each Party is entitled to injunctive relief with
respect to or specific performance of this Article XI. If either Party institutes any proceeding to
enforce any part of this Article XI, the other Party now waives any claim or defense that an
adequate remedy at law exists.

                                   Article XII. Miscellaneous

Section 12.01 SUbject to Regulation
This Agreement may be subject to regulation by regulatory authorities having jurisdiction. The
Parties do not intend by this paragraph to confer or extend jurisdiction over this Agreement to
any regulatory authority.

Section 12.02 Assignment

A.     Except as otherwise specifically provided herein, this Agreement may not be assigned by
a Party without the prior written consent of the other Party, which consent shall not be
unreasonably withheld. This Agreement shall inure to and be binding upon the Parties hereto
and their permitted successors and assigns.

B.     Seller may assign this Agreement for collateral security purposes without the consent of
Buyer. Buyer shall cooperate with Seller's reasonable requests in effecting any assignment of
this Agreement for collateral security purposes, including entering into a customary direct
agreement and consent with the Lender in form and substance re~onably satisfactory to Buyer
and the Lender. In addition, Seller anticipates that, prior to the completion of construction of the
Renewable Resource Facility, it will seek one or more additional investors to make an·
investment in the Renewable Resource Facility to provide additional funds to fmance or
refinance the construction, operation and use of the Renewable Resource Facility and, in
connection therewith, Buyer agrees to enter into and provide such additional investors with such
documentation as Seller and such additional investors reasonably request and which are
reasonably satisfactory to Buyer in form and substance, which documents may include
customary estoppels, consents, notices, legal opinions and other corporate deliverables. In the
event Seller assigns this Agreement for collateral security purposes or requests that Buyer enter
into or provide documentation to such additional investors, Seller shall promptly reimburse
Buyer for all direct and indirect costs, including without limitation, attorneys' fees, incurred by
Buyer in connection therewith.

C.      [Intentionally deleted.]

D.     Either Party may assign this Agreement to an affiliate of such Party without the consent
of the other Party, provided that such affiliate is at least as creditworthy as the assignor. Any
such assignment shall not be effective as to the non-assigning Party until the non-assigning Party
receives written notice of such assignment from the assigning Party.

E.    No assignment of this Agreement releases the assignor from any liability under this
Agreement unless the non-assigning Party consents to such release.

F.      Any attempted assignment in violation ofthis Section 12.02 is void and ineffective.


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Section 12.03 Time Is of Essence
Time is of the essence with regard to performance of this Agreement.

Section 12.04 Notices

A.      Except as set forth otherwise below, any notices, demands, or requests required or
authorized by this Agreement, or any other instrument or document required or authorized to be
tendered or delivered by either Party, shall be in writing' and personally delivered or sent by
certified mail, return receipt requested, postage prepaid to:

        (1).   All operational notices (including notices of Forced Outages) and notices
        provided under Section 8.02 shall be in writing (including by facsimile) except that
        routine operational notices and communications and notices during an emergency or
        other unforeseen event may be made in person or by telephone, and sent to:

                  If to Buyer:                                If to Seller:

                  Attn: QSE Coordinator                       Airtricity Forest Creek Wind
                  TXU Portfolio Management Company LP         FarmLLC
                  1717 Main Street, Suite 2000                c/o Philip K. Dutton
                  Dallas, Texas 75201                         4425 W. Airport Frwy., Ste. 590
                  Telephone: (214) 875-9778                   Irving, TX 75062
                  Facsimile: (214) 875-9069                   Telephone: (972) 255-2500
                                                              Facsimile: (972) 255-2533

        (2).    Notices for statement and billing purposes (billing statements may be sent by
        regular mail) shall be sent to:

                 If to Buyer:                                 If to Seller:

                 TXU Portfolio Management Company LP          Airtricity Forest Creek Wind
                 Attn: Settlements                            FarmLLC
                 1717 Main Street, Suite 2000                 c/o Philip K. Dutton ,
                 Dallas, Texas 75201                          4425 W. Airport Frwy., Ste. 590
                 Karen Chapel (214) 875-9393                  Irving, TX 75062
                 Scott Young (214) 875-9654




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        (3).    Information concerning electronic funds transfers:

                   If to Buyer:                                    If to Seller:

                   Bank of America, N.A.                           Bank of America/Fleet Bank
                   Dallas, Texas                                   Acct No- 9421205371
                   ABA No. 111000012                               ABA 021404465
                   for credit to
                   TXU Portfolio Management Company LP
                   Account No. 375041499

        (4).    All other notices, including administrative notices, shall be sent to:

                  If to Buyer:                                     If to Seller:

                  Manager, Contract Administration                 Airtricity Forest Creek Wind
                  TXU Portfolio Management Company LP              Farm LLC
                  1717 Main Street, Suite 2000                     c/o Philip K. Dutton
                  Dallas, Texas 75201                              4425 W. Airport Frwy., Ste. 590
                  Facsimile: (214) 875-5356                        Irving, TX 75062
                                                                   Facsimile: (972) 255-2533

B.       The person to receive notices or the address for such notices may be changed by written
notice from one Party to the other Party under this Section 12.04. Any written notice, demand, or
request given under this Section 12.04 is deemed to be given upon the earlier of (i) actual receipt,
or (ii) three (3) days after deposit in the U.S. mail, properly addressed, and with adequate fIrst
class postage.

Section 12.05 No Rights of Third Parties
This Agreement is intended only for the Parties' benefIt. Nothing in this Agreement may be
construed to create any duty to, any standard of care concerning, or any liability to, any person
not a Party to this Agreement.

Section 12.06 Subject to Applicable Laws
This Agreement is subject to applicable federal, state, and local laws, ordinances, rules, and
regulations and to any legislative or administrative actions of any agency, department, authority,
political subdivision or other governmental instrumentality and any decrees, judgments or orders
of any court ("Applicable Law"). Nothing in this Agreement may be construed as a waiver of
any right to question or contest any law, ordinance, rule, regulation, or asserted regulatory
jurisdiction. Each Party agrees to comply with all applicable ERCOT Protocols.

Section 12.07 No Partnership
This Agreement is not intended to create and does not create an association, joint venture, or
partnership between the Parties or to impose any partnership obligation or liability upon either
Party. Neither Party has any right, power, or authority to enter any agreement or undertaking for,



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or act on behalf of, or to act as or be an agent or representative of, or to otherwise bind, the other
Party.

Section 12.08 Amendment
This Agreement may be amended any time, but only by a written agreement signed by both
Parties to this Agreement.

Section 12.09 No Waiver
The waiver of a breach of any provision of this Agreement does not waive any other breach of
that provision or of any other provision.

Section 12.10 Captions
The captions of the various articles and sections of this Agreement are for convenience and
reference only and do not limit or defme any tenns and provisions ofthis Agreement.

Section 12.11 Complete Agreement
This Agreement (with its Exhibits) represents the Parties' fmal and mutual understanding
concerning its subject matter. It replaces and supersedes any pnor agreements or understandings,
whether written or oral. No representations, inducements, promises, or agreements, oral or
otherwise, have been relied upon or made by any Party, or anyone on behalf of a Party, that are
not fully expressed in this Agreement. An agreement, statement, or promise not contained in this
Agreement is not valid or binding.

Section 12.12 Governing Law
This Agreement shall be governed by, construed and enforced in accordance with laws of the
State of Texas, other than those laws which would refer a dispute hereunder to another
jurisdiction. The Parties agree to non-exclusive jurisdiction of the federal district court in the
Borough of Manhattan, State of New York. Each Party irrevocably waives, to the fullest extent
permitted by law, any objection which it may now or hereafter have to the laying of venue of any
suit, action or proceedings with respect to such documents brought in any such court, and further
irrevocably waives, to the fullest extent permitted by law, any claim that any such suit, action or
proceedings brought in any such court has been brought in any inconvenient forum.

Section 12.13 Liquidated Damages
To the extent any payment required to be made pursuant to thls Agreement is deemed to be
liquidated damages, the Parties acknowledge that the damages are difficult or impossible to
determine, that such payment constitutes a reasonable approximation of such damages, and in no
event is such payment to be deemed to be a penalty.

Section 12.14 Severability
In the event any provision of this Agreement is held to be void, unlawful, or otherwise
unenforceable, that provision will be severed from the remainder of the Agreement, and replaced
automatically by a provision containing tenns as nearly like the void, unlawful, or unenforceable.
provision as possible; and the Agreement, as so modified, will continue to be in full force and
effect. If the application of any provision of this Agreement to any person or circumstance is



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held to be void, unlawful, or unenforceable, then that provision remains valid, lawful, and
enforceable as applied to other persons and circumstances.

Section 12.15 Exhibits
The Exhibits attached to this Agreement are incorporated in this Agreement and made a part of
this Agreement as if repeated ve;rbatim in this Agreement.

Section 12.16 Construction
In this Agreement, the following rules of construction apply, unless expressly provided otherwise
or unless the context clearly requires otherwise:

A,     The singular includes the plural, and the plural includes the singular. The present tense
includes the future tense, arid the future tense includes the present tense. Words importing any
gender include the other gender.

B.      The word "shall" denotes a duty. The word "may" denotes a privilege or discretionary
power.. The phrase "may not" denotes a prohibition. References to "writing" include printing,
typing, lithography, and other means of reproducing words in a tangible visible form. The words
"including," "includes," and "include" are deemed to be followed by the words "without
limitation. "

C.      References to Articles, Sections (or subdivisions of Sections), Exhibits, annexes,
appendices, or schedules are to this Agreement, unless expressly stated otherwise. References to
statutes, tariffs, or regulations include all statutes, tariffs, or regulations consolidating, amending,
or replacing the statute, tariff, or regulation referred to. References to industry publications (such
as IEEE 519) include all publications consolidating, amending, or replacing the publication
referred to. References to agreements and other contractual instruments include all subsequent
amendments and other modifications to the instruments, but only to the extent the amendments
and other modifications are not prohibited by this Agreement. References to persons or entities
include their respective successors and permitted assigns and, for governmental entities, entities
succeeding to their respective functions and capacities.

D.      Capitalized terms not otherwise defined in this Agreement shall have the meaning as set
forth in the ERCOT Protocols, as they may be amended from time to time. The term "ERCOT
Protocols", as used by ERCOT, refers to the rules that guide the operation, market, and
settlement functions of the ERCOT Independent System Operator, as amended from time to
time.

Section 12.17 Delivery of Copy of Agreement
Buyer has delivered a copy of this Agreement to Seller for its review; that delivery does not
constitute an offer to Seller. This Agreement is not effective until a copy executed by Seller is
delivered to and executed by Buyer.

Section 12.18 Execution in Counterparts
This Agreement may be executed in counterparts, and any counterpart containing an original
signature is considered an original as to the Party signing the counterpart. Additionally, a
facsimile transmission of a signature from either Party is considered an original signature.

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Section 12.19 Imaged Agreement
Any original executed Agreement may be photocopied and stored on computer tapes and disks
(the "Imaged Agreement"). The Imaged Agreement, if introduced as evidence on paper, and all
computer records of the foregoing, if introduced as evidence in printed format, in any judicial,
mediation or administrative proceeding, will be admissible as between the Parties to the same
extent and under the same conditions as other business records originated and maintained in
documentary form. Neither Party shall object to the admissibility of the Imaged Agreement (or
photocopies of the transcription of the Imaged Agreement) on the basis that such were not
originated or maintained in documentary form under either the hearsay rule, the best evidence
rule or other rule of evidence.

Section 12.20 Effective Date
This Agreement shall become effective on the date first written above (the "Effective Date").

Section 12.21 Forward Contract
The Parties acknowledge and agree that this Agreement and all transactions hereunder constitute
"forward contracts" within the meaning of the United States Bankruptcy Code.

Section 12.23 Survival
Any provision of this Agreement which by its terms requires performance to occur or to continue
after the termination of this agreement shall survive the termination hereof and shall continue in
full fo~e and effect until performance has been completed in full.


                               [SIGNATURE PAGE FOLLOWS]




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Executed as of the date first stated above.

Airtricity Forest Creek Wind Farm, LLC               TXU Portfolio Management Company LP
By:                                                  By TXU Portfolio Optimization
                                                     Company LLC, Its General Partner

                                                             MJ   \P \   0 f - - - -_ _
By:                                                  By~ 'crj\JV
         Name: Ciaran O'Brien                                N~e: Manu Asthana
         Title: Senior Vice President - Finance              Title: Vice President

Date: March _ _ , 2006                               Date:    March~, 2006




                                [REe AGREEMENT SIGNATURE PAGE]


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Executed as of the date first stated above.

Airtricity Forest Creek Wind Farm, LLC                  TXU Portfolio Management Company LP

                                                        By: TXU Portfolio Optimization
                                                        Company LLC, Its General Partner


By:
         f\~
      '">~ ~-
         1-~
                               l_ _- - - - -
                                                        By:

Name:              Declan Flanagan                      Name: ______~N1~an~u~A~st~h~a~na~_______

Title:             Senior Vice President                Title:           Vice President

Date:                                                   Date:




                                [REC AGREEMENT SIGNATURE PAGE]
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EXHIBIT 4.01- Description of Renewable Resource Facility

The Project is a 124.2 MW nameplate wind generation project to be located in Glasscock,
Howard and Sterling Counties, Texas, approximately 18 miles to the southeast of Big Spring,
Texas. A total of 54 of the Siemens 2.3 MW:Mk II wind turbine generators will be used on the
site. Each turbine has three blades with a swept-area diameter of 93m and will be mounted on an
80m tubular steel tower. The Project will be connected to the ERCOT 138KV transmission system
at the new McDonald Ranch substation, located directly adjacent to property leased for the Project.




                                          [EXlllBIT 4.01]
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                                     Exhibit 4.10A

                         Companies Excluded from Naming Rights




                                     [EXHIBIT 4. lOA]
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                                      Exhibit 6.01A

                                   PPA Full Price by Year


                                       Price
                     Year
                      2006             $35.50
                      2007             $36.21
                      2008             $36.93
                      2009             $37.67
                      2010             $38.43
                      2011             $39.19
                      2012             $39.98
                      2013             $40.78
                      2014             $41.59
                      2015             $42.43
                      2016             $43.27
                      2017             $44.14
                      2018             $45.02
                      2019             $45.92
                      2020             $46.84 .
                      2021             $47.78
                      2022             $48.73
                      2023             $49.71
                      2024             $50.70
                      2024             $51.72
                      2026             $52.75
                      2027             $53 ..81
                      2028             $54.88




                                       [EXIDBIT 6.0IA]
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                                                  EXHIBIT 6.01B

                                  EXAMPLE OF REDETERMINATION
                                       OF YEAR 2006 ONLY
                                       ANNUAL QUANTITY


Assumption:
                  1.   Seller has sufficient number of wind turbines in commercial operation starting January 1, 2007 to
                       equal 111.5 MW of nameplate capacity.


                  2.   Seller has been delayed on quantity number one of wind turbines equal to 5 MW and they were
                       eventually put into commercial operation starting February 1,2007. This is a period of 31 days
                       missing as compared to January 1,2007.

                  3.   Seller has been delayed on quantity number two of wind turbines equal to 7.5 MW and they were
                       eventually put into commercial operation starting April 1,2007. This is a period of91 days
                       missing as compared to January 1,2007.

                  4.   Seller has determined the Annual Quantity to be 436,000 MWh for years 2007 through 2022 as per
                       Section 6.0lB(2).



Adjustment Calculation:

        Step 1:            Determine amount of MW days of operation missing

                           7.5 MW times 91 days = 682.5 MW days

                           5MW times 31 days = 155 MW days

        Step 2:            Determine amount of MW days expected for Calendar year 2006

                           124.2 MW times 366 days = 45,457.2 MW days

        Step 3:            Determine adjustment factor

                           Adjustment Factor = (Total MW days - MW days missing)

                                                         Total MW days

                                              = (45,457 - 682.5-155)/45,457

                                              = 44,619.7/45,457


                                              =0.98158

        Step 4:            Determine new 2006 Annual Quantity

                           Revised 2006 AQ = 436,000 xO.98158

                                              =   427,969.05



                                                   [EXHIBIT 6.01B]
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EXHIBIT 6.020

TXU RECPA SECTION 6.02 ANNUAL RECONCILIATION
WORKSHEET




                                  Annual                                                                        Annual
                     Quantity     Excessl              Annual       Annual        Net Full          Net Half   Half-Price
                     Produce     (Oeficienc           Half Price   Oeficienc       Price             Price     Oeficienc    Net
 Year                   d                                                         Excess

 2006                              25,000                                       ,,:::25,qOO,:·':·
 2007                              50,000

 2008                              18,600

 2009                             (11,400)

 2010                             (86,400)

 2011                             (161,400)

 2012                              18,600

 2013                              23,600

 2014                              13,600

 2015                             (11,400)

 2016




Half-Price Trigger
                                                      Deficienc
                                                          y          90%
                                                                           ·l

                                                      [EXHIBIT 6.02D]
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                                                       EXIllBIT IO.OIB

                                                         GUARANTY

                 To induce Airtricity Forest Creek Wind Farm, LLC ("Counterparty") to enter into the Renewable Energy
and Renewable Energy Credits Purchase Agreement dated as of March 10, 2006 (the "Energy Agreement") with TXU
Portfolio Management Company LP (the "Company"), the undersigned (the "Guarantor") hereby irrevocably and
unconditionally guarantees the punctual payment when due of all obligations of the Company to Counterparty now or
hereafter existing or arising in connection with the Energy Agreement, interest, if any, on the obligations and including any
and all expenses (including reasonable attorneys' fees) reasonably incurred by Counterparty in enforcing its rights under
this Guaranty (the "Obligations"), as limited below; provided that the Guarantor shall not be liable for any expenses of
Counterparty if no payment under this Guaranty is due. This is a guaranty of payment and not merely of collection. The
Guarantor's obligation to make a guarantee payment may be satisfied by payment of the required amounts by the
Guarantor or by causing the Company to pay such amounts to the Counterparty.


        The liability of the Guarantor under this Guaranty shall be unconditional irrespective of (i) any lack of
enforceability of any Obligations, (ii) any change of the time, manner or" place of payment, or any other term, of any
Obligations, (iii) any law, regulation or order of any jurisdiction affecting any term of any Obligations or Counterparty's
rights with respect thereto, (iv) the insolvency, receivership, reorganization or bankruptcy of the Company, and (v) the
merger or consolidation of Company with or into another entity, the loss of the Company's separate legal identity or the
cessation of the Company's existence. The Guarantor waives promptness, diligence, and notices (except the Payment
Notice (as defined below» with "respect to any Obligations in this Guaranty and any requirement that Counterparty
exhaust any right or take any action against the Company. Except for those defenses expressly waived hereby,
Guarantor reserves the right to assert any and all defenses which the Company may have to payment of the Obligations.
In the event that any payment of Company in respect of any Obligations is rescinded or recovered from Counterparty as a
preference or fraudulent transfer under the Federal Bankruptcy Code, or any applicable state law, the Guarantor shall
remain liable hereunder in respect to such Obligations as if such payment had not been made.

         This is a continuing guaranty and shall remain in full force and effect until the earlier of (i)                   ,
or (ii) until the fifth business day after written notice has been received by Counterparty from the Guarantor that it has
been revoked, but any notice shall not release the Guarantor from any liability as to any Obligations existing at the time of
receipt of such notice or expiry.

         Upon failure of Company to pay all or any portion of the Obligations, Counterparty shall provide Guarantor with a
written demand for payment (the "Payment Notice"). The liability of the Guarantor under this Guaranty with respect to the
aggregate principal amount of Obligations shall not exceed the lesser of the principal amount of Obligations outstanding
or $_,000,000 (U. S. Dollars).

         The Guarantor shall be subrogated to all of Counterparty's rights against the Company in respect of any amounts
paid by the Guarantor pursuant to the provisions of this Guaranty.

         No failure or delay on the part of Counterparty to exercise, and no delay in exercising, any right, remedy or power
hereunder shall operate as a w~iver thereof, nor shall any single or partial exercise by Counterparty of any right, remedy or
power hereunder preclude any other or future exercise of any right, remedy or power. Each and every right, remedy and
power hereby granted to Counterparty or allowed it by law or other agreement shall be cumulative and not exclusive of any
other, and may be exercised by Counterparty from time to time.

        The Guarantor may not assign its rights, interest or obligations hereunder to any other person without the prior written
consent of the Counterparty and any purported assignment absent such consent is void.

        All notices or other communications given or required to be given hereunder shall be in writing at the addresses below
either by certified mail, return receipt requested, in person, or by overnight courier service, each of which shall be effective
upon receipt                                                                                                        "

        The Guarantor's address for notices is:


                                                      (EXHIBIT 1O.OlB]
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        TXU Energy Company LLC
        Attention: . Credit Department
        1601 Bryan Street, Suite 9-0150
        Dallas, TX 75201

        The Counterparty's address for notices is:




         Guarantor and Counterparty may change its address for notices by giving notice to the other party in accordance with
the provisions stated above.

        This Guaranty shall be governed by the laws of the State of Texas, without regard to principles of conflicts of Laws.




                                          Guarantor
                                          By:
                                          By:
                                          Date




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                            EXHIBIT 1O.OlC(1) - Form of Standby Letter ofCtedit




Beneficiary:                         Name:
                                     Address:

We hereby open our Irrevocable Standby Letter of Credit Number           in your favor by order and
account of           "Applicant"               available by your draft(s) at sight, drawn on
_ _ _ _ _ _ _ _ _ _ _ _,...-_ _ _ for an aggregate amount of $                                 USD
(                                 U.S. Dollars) when accompanied by a Statement signed by an
authorized representative of [BENEFICIARy] stating that "[BENEFICIARY] is entitled to draw on this
Letter of Credit No.        under the provisions of the [Name of the Contract] dated _ _ _ _ __
between Buyer Company LP and                                       "

In the event this instrument is not renewed thirty (30) days prior to the expiry date, [BENEFICIARY]
shall be entitled to draw upon presenting the above statement.[subject to appiOval by Buyer Credit]

         We hereby engage with drawers, endorsers and bonafide holders that any drawing, which is in full
compliance with this Letter of Credit, will be duly honored upon presentation at this office on or before the
expiry date                          . We shall effect payment two Business Days after receipt of documents in
strict conformity with the terms of this Letter of Credit . As used herein "Business Day" shall mean any day on
which banking institutions in New York are open for business.


Special Conditions:

Partial drawings and multiple drawings are allowed.

All bank charges and commissions are for applicant's account.

Except as so far as expressly stated herein, this credit is subject the 'Uniform Customs and Practice
for Documentary Credits' (1993 Revision) International Chamber of Commerce Publication No. 500. If
this Letter of Credit expires during an interruption of business as described in Article 17 of said
Publication 500 the bank hereby agrees to effect payment if this credit is drawn against within 30
days of after the resumption of business.

For further assistance please contact::




                                              [EXHIBIT 1O.OlC(l)]

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                                                                             Execution Version


                                    First Amendment to
              Renewable Energy and Renewable Energy Credits Purchase Agreement

        This FIRST AMENDMENT TO RENEWABLE ENERGY AND RENEWABLE
ENERGY CREDITS PURCHASE AGREEMENT (this "Amendment") is made and entered
into as of this 31st day of July, 2006, by and among AIRTRICITY FOREST CREEK
WIND FARM, LLC, a Delaware limited liability company ("Seller") and TXU PORTFOLIO
MANAGEMENT COMPANY LP, a Texas limited partnership ("Buyer"). Capitalized terms
used but not defined herein shall have the meanings given them in the PPA (as hereinafter
defined).


                                          RECITALS


       WHEREAS, Seller is developing and will own and operate an approximately one
hundred twenty-four and two-tenths megawatt (124.2 MW) wind power project (the "Forest
Creek Project"), located in Sterling, Glasscock and Howard Counties, Texas;

       WHEREAS, Buyer and Seller have entered into that certain Renewable Energy and
Renewable Energy Credits Purchase Agreement dated as of March 10, 2006 (the "PPA")
pursuant to which, among other things, Seller agrees to produce, deliver and sell to Buyer, and
Buyer agrees to take and purchase from Seller, renewable energy credits and the renewable
energy that produces those credits;

       WHEREAS, Airtricity Sand Bluff Wind Farm, LLC, a Delaware limited liability
company ("Sand Bluff') is developing and will own and operate an approximately ninety
megawatt (90 MW) wind power project (the "Sand Bluff Project"), which Sand Bluff Project is
adjacent to or in the vicinity of the Forest Creek Project (the Forest Creek Project and the Sand
Bluff Project are sometimes referred to individually as a "Project" or collectively as the
"Projects");

        WHEREAS, the Projects will share ownership of certain real estate entitlements and
certain electrical and communication facilities required for the transmission of electricity from
each Project, including an estimated six mile transmission line from the Projects' switch yard to
the McDonald Road 138KV Switching Station;

        WHEREAS, Seller and TXU Electric Delivery Company ("TXUED") have entered into
that certain ERCOT Standard Generation Interconnection Agreement dated as of November 17,
2005 and amended as of January 13,2006 (the "Forest Creek IA");

      WHEREAS, Sand Bluff intends to enter into interconnection arrangements with
TXUED (the "Sand Bluff IA," and, together with the Forest Creek lA, the "Interconnection
Agreements");




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        WHEREAS, pursuant to ERCOT Protocols, Seller and Sand Bluff intend to utilize
generation meter splitting wherein each Project shall share the same point of interconnection
under their respective Interconnection Agreements and shall utilize the same ERCOT Polled
Settlement Meter (the "EPSM"), as that term is defined in the ERCOT Protocols, as their
respective points of delivery of electrical output from their respective Projects, with data from
such EPSM being "virtually split" between such two Projects; and

       WHEREAS, Seller and Buyer therefore desire to amend the PPA to accommodate such
generation meter splitting and other changes related thereto.

      NOW THEREFORE, in consideration of the mutual promises contained herein and for
other good and valuable consideration, the receipt and adequacy of which are hereby
acknowledged, the parties hereto hereby agree as follows:

                                          AGREEMENT


                1.     Interconnection Agreement. The first sentence of Section 4.02 of the PPA
is hereby deleted and replaced with the following sentence:

        Seller has executed a transmission interconnection agreement with TXU Electric
        Delivery Company that is dated November 17, 2005, and amended as of January 13,
        2006 relating to the interconnection of the Renewable Resource Facility to the ERCOT
        transmission system (the "Interconnection Agreement").

       2.      Metering Equipment. Section 4.04 of the PPA is hereby deleted in its entirety and
replaced with the following:

                Section 4.04. Metering.

        Seller shall arrange for meters ("Metering Equipment") that shall be qualified as ERCOT
        Polled Settlement Meters ("EPSMs") to measure the Net Energy delivered from the
        Renewable Resource Facility to the Delivery Point. The EPSMs shall meter the total net
        output of the Renewable Resource Facility and that certain wind generation facility
        commonly known as the Airtricity Sand Bluff Project (the "Sand Bluff Project")
        combined. The Metering Equipment shall be connected to the ERCOT Meter Data
        Acquisition System (as defined in the ERCOT Protocols), unless otherwise determined
        by Seller. Seller shall comply with all Metering Equipment and Metering Equipment
        maintenance requirements published in the most recent version of the ERCOT Protocols.

        Seller shall utilize Generation Meter Splitting, as currently outlined in Section 10.3.2.1 et
        seq. of the ERCOT Protocols, in the measurement of such Net Energy, such that
        aggregate data from a qualified EPSM connected to the ERCOT Meter Data Acquisition
        System (as defined in the ERCOT Protocols), shall be allocated to Seller's "virtual
        generator meter" by a Master Qualified Scheduling Entity ("Master QSE") utilizing Real-
        Time signals of the MWs of generation from Seller's Revenue Quality Meter that
        measures the output of the Renewable Resource Facility independently of the Sand Bluff
                                                  2
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        Project. For purposes hereof, such "Revenue Quality Meter" shall have the meaning
        given in §2.1 of the ERCOT Protocols. All Metering Equipment and Metering Equipment
        maintenance shall be in accordance with applicable standards as published in the most
        recent version of the ERCOT Protocols. It is recognized that at the date hereof, it is
        ERCOT's responsibility to read meters for settlement purposes. Seller consents to
        allowing Buyer, its Qualified Scheduling Entity ("QSE") and its Master QSE or Buyer's
        designated QSE Subcontractor, as provided for herein, to (a) read the Metering
        Equipment at Seller's Revenue Quality Meter located at the high side of the Forest Creek
        step-up transformer; and (b) review Seller's virtual generation meter information
        associated with the Net Energy for informational purposes, as provided for in the ERCOT
        Protocols. Any adjustment to prior meter readings shall be made and settled in
        accordance with ERCOT Protocols, and the amount of Net Energy shall be appropriately
        adjusted to reflect such adjustment to prior meter readings.

                3.      Master Qualified Scheduling Entity. Buyer agrees that independent of, and
        in addition to, its obligations as Seller's QSE as more fully set forth in Section 5.06 of the
        PPA, Buyer shall cooperate and coordinate with the Master Qualified Scheduling Entity
        ("Master QSE") providing services on behalf of the Projects in accordance with this
        Agreement and the ERCOT Protocols §10.3.2.1 et seq. as amended from time to time.
        Buyer shall provide information and take other action as reasonably requested by the
        Master QSE or Seller to facilitate performance of the Master QSE obligations set forth in
        the ERCOT Protocols. Seller shall designate, in Seller's sole discretion, a Master QSE
        qualified by ERCOT to perform the Master QSE services for both the Forest Creek
        Project and the Sand Bluff Project.

                4.     Exhibit 6.01A. Exhibit 6.01A of the PPA is hereby amended as follows:

                     In the column titled "Year," the year "2024" appears twice in successive
        rows. The second such row is hereby deleted and replaced with the following row:

                       Year                                   Price

                       2025                                   $51.72

                5.     Notices. Section 12.04A of the PPA is hereby amended as follows:

                The electronic funds transfer instructions for Buyer are hereby deleted and
                replaced with the following:

                (3)    Information concerning electronic fund transfers:

                       If to Buyer:




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                       JPMorgan Chase Bank
                       Dallas, Texas
                       ABA No. 021000021
                       For credit to
                       TXU Portfolio Management Company LP
                       Account No. 0000 088 063 18059

                The address for other notices for Buyer is hereby deleted and replaced with the
                following:

                (4)    All other notices, including administrative notices, shall be sent to:

                       If to Buyer:

                       Manager, Contract Administration
                       TXU Portfolio Management Company LP
                       1717 Main Street, Suite 2000
                       Dallas, Texas 75201
                       Facsimile: (214) 875-9066

              6.      Exhibit 6.02D. Exhibit 6.02D of the PPA is hereby replaced with a new
Exhibit 6.02D attached to this Amendment.

                7.     Miscellaneous

              a.      Amendments. Except as expressly set forth herein, the PPA shall remain
unmodified and is hereby ratified and confirmed in each and every respect. All references in the
PPA to the "Agreement" shall be deemed to refer to the PPA as amended hereby.

                b.     Counterparts. This Amendment may be executed in multiple counterparts,
each and all of which shall be deemed an original agreement, and all of which shall constitute
one agreement, notwithstanding that all parties are not signatories to the original or the same
counterpart, to be effective as of the day and year first above written.

              c.      Governing Law. This Amendment shall be governed by and construed in
accordance with the laws of the State of Texas.

               d.      Additional Documents. Each party hereto, upon the reasonably request of
any other party hereto, agrees to perform any further acts and execute and deliver any documents
which may be reasonably necessary to carry out the provisions of this Amendment.

                e.    Validity. Should any portion of this Amendment be declared invalid and
unenforceable, then such portion shall be deemed to be severable from this Amendment and shall
not affect the remainder hereof, and the parties hereto shall work together in good faith to replace
such invalid or unenforceable provision.

                         [Remainder of Page Intentionally Left Blank]

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        IN WITNESS WHEREOF, the parties hereto have executed this First Amendment to
Renewable Energy and Renewable Energy Credits Purchase Agreement effective as of the date
first above written.


                 Seller:           AIRTRICITY FOREST CREEK WIND FARM, LLC,
                                   a Delaware limited liability co


                                   By:~__=-____~__~_____________
                                   Name: Ciaran 0' Brien
                                   Title: Senior Vice President-Finance


                 Buyer:            TXU PORTFOLIO MANAGEMENT COMPANY
                                   LP, a Texas limited partnership

                                   By:    TXU PORTFOLIO OPTIMIZATION
                                          COMP ANY, LLC, its General Partner

                                           By:
                                                --------------------------------
                                           Name: ------------------------------
                                           Title: -------------------------------




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        IN WITNESS WHEREOF, the parties hereto have executed this First Amendment to
Renewable Energy and Renewable Energy Credits Purchase Agreement effective as of the date
first above written.


                Seller:           AIRTRICITY FOREST CREEK WIND FARM, LLC,
                                  a Delaware limited liability company


                                  By: ___________________________
                                  Name: ___________________________
                                  Title: ____________________________


                Buyer:            TXU PORTFOLIO MANAGEMENT COMPANY
                                  LP, a Texas limited partnership

                                  By:     TXUPORTFOLIO OPTIMIZATION
                                          COMPANY, LLC, its General Partner



                                          By:   ---N'-i~~~~:=...-.-~~et,Lf----
                                                N arne: Mike McCall
                                                Title: Chairman of the Board, President
                                                        and Chief Executive




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EXHIBIT 6.020

TXU RECPA SECTION 6.02 ANNUAL RECONCILIATION WORKSHEET (Example covering
years 1-10 only)




                                                                                                        Nel
                                                     Annual Full-    Annual                Net Full    Half     Annual
                 Annual                                 Price       Half Price              Price      Price   Half-Price      Net
   Year          Quantlt                               Excess                              Excess     Excess   Deficiency   Deflclenc


   2006              0        .25,000     25.000                                           25.000       a          a            0


   2007           100,000    100,000      50.000                                           75.000       a          a            a
   2008           436,400    .455,000     18,600                                           93,600       a          a            0


   2009         '.'436;400   425,000     (11,400)                                          93,600       0          0            0


   2010          '436,400    350,000     (86,400)                                           7,200       0          a            a
   2011           4~6,400    275,000     (161,400)                                             0        0       154,200      154,200


   2012                                   18,600                                           18,600       0          0            a
   2013                                   23,600                                           42,200       0          0            0


   2014           436,400    450,000.     13,600       13,600                              55,800       a          0            0


   2015           436;400     425,000    (11,400)         O·                               55,800       0          0            0


   2016           436,400     536,400    100,000        65,460       34,540          0     121,260    34,540       0            0




Half-Price Trigger           D                                      Deficiency      90%




                                                                    6
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                                                                           Execution Version

                                First Amendment to
          Renewable Energy and Renewable Energy Credits Purchase Agreement

       This FIRST AMENDMENT T O RENEWABLE ENERGY AND RENEWABLE
ENERGY CREDITS PURCHASE AGREEMENT (this "Amendment") is made and entered
into as of this 3 1 s t day of July, 2006, by and among AIRTRICITY FOREST CREEK
WIND FARM, LLC, a Delaware limited liability company ("Seller") and TXU PORTFOLIO
MANAGEMENT COMPANY LP, a Texas limited partnership ("Buyer"). Capitalized terms
used but not defined herein shall have the meanings given them in the PPA (as hereinafter
defined).


                                          RECITALS


       WHEREAS, Seller is developing and will own and operate an approximately one
hundred twenty-four and two-tenths megawatt (124.2 MW) wind power project (the "Forest
Creek Proiect"), located in Sterling, Glasscock and Howard Counties, Texas;

       WHEREAS, Buyer and Seller have entered into that certain Renewable Energy and
Renewable Energy Credits Purchase Agreement dated as of March 10, 2006 (the ''W)
pursuant to which, among other things, Seller agrees to produce, deliver and sell to Buyer, and
Buyer agrees to take and purchase from Seller, renewable energy credits and the renewable
energy that produces those credits;

       WHEREAS, Airtricity Sand Bluff Wind Farm, LLC, a Delaware limited liability
company ("Sand Bluff') is developing and will own and operate an approximately ninety
megawatt (90 MW) wind power project (the "Sand Bluff Proiect"), which Sand Bluff Project is
adjacent to or in the vicinity of the Forest Creek Project (the Forest Creek Project and the Sand
Bluff Project are sometimes referred to individually as a "Proiect" or collectively as the
"Proiects");

        WHEREAS, the Projects will share ownership of certain real estate entitlements and
certain electrical and communication facilities required for the transmission of electricity from
each Project, including an estimated six mile transmission line from the Projects' switchyard to
the McDonald Road 138KV Switching Station;

        WHEREAS, Seller and TXU Electric Delivery Company ("TXUED") have entered into
that certain ERCOT Standard Generation Interconnection Agreement dated as of November 17,
2005 and amended as of January 13,2006 (the "Forest Creek IA");

      WHEREAS, Sand Bluff intends to enter into interconnection arrangements with
TXUED (the "Sand Bluff IA," and, together with the Forest Creek IA, the "Interconnection
Agreements");
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        WHEREAS, pursuant to ERCOT Protocols, Seller and Sand Bluff intend to utilize
generation meter splitting wherein each Project shall share the same point of interconnection
under their respective Interconnection Agreements and shall utilize the same ERCOT Polled
Settlement Meter (the "EPSM"), as that term is defined in the ERCOT Protocols, as their
respective points of delivery of electrical output from their respective Projects, with data from
such EPSM being "virtually split" between such two Projects; and

       WHEREAS, Seller and Buyer therefore desire to amend the PPA to accommodate such
generation meter splitting and other changes related thereto.

       NOW THEREFORE, in consideration of the mutual promises contained herein and for
other good and valuable consideration, the receipt and adequacy of which are hereby
acknowledged, the parties hereto hereby agree as follows:

                                         AGREEMENT


                1.     Interconnection A~reement.The first sentence of Section 4.02 of the PPA
is hereby deleted and replaced with the following sentence:

       Seller has executed a transmission interconnection agreement with TXU Electric
       Delivery Company that is dated November 17,2005, and amended as of January 13,
       2006 relating to the interconnection of the Renewable Resource Facility to the ERCOT
       transmission system (the "Interconnection Agreement").

       2.      meter in^ Equipment. Section 4.04 of the PPA is hereby deleted in its entirety and
replaced with the following:

               Section 4.04. Metering.

       Seller shall arrange for meters ("Metering Equipment") that shall be qualified as ERCOT
       Polled Settlement Meters ("EPSMs") to measure the Net Energy delivered from the
       Renewable Resource Facility to the Delivery Point. The EPSMs shall meter the total net
       output of the Renewable Resource Facility and that certain wind generation facility
       commonly known as the Airtricity Sand Bluff Project (the "Sand Bluff Project")
       combined. The Metering Equipment shall be connected to the ERCOT Meter Data
       Acquisition System (as defined in the ERCOT Protocols), unless otherwise determined
       by Seller. Seller shall comply with all Metering Equipment and Metering Equipment
       maintenance requirements published in the most recent version of the ERCOT Protocols.

       Seller shall utilize Generation Meter Splitting, as currently outlined in Section 10.3.2.1 et
       seq. of the ERCOT Protocols, in the measurement of such Net Energy, such that
       aggregate data from a qualified EPSM connected to the ERCOT Meter Data Acquisition
       System (as defined in the ERCOT Protocols), shall be allocated to Seller's "virtual
       generator meter" by a Master Qualified Scheduling Entity ("Master Q S E ) utilizing Real-
       Time signals of the MWs of generation from Seller's Revenue Quality Meter that
       measures the output of the Renewable Resource Facility independently of the Sand Bluff
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Project. For purposes hereof, such "Revenue Quality Meter" shall have the meaning
given in 92.1 of the ERCOT Protocols. All Metering Equipment and Metering Equipment
maintenance shall be in accordance with applicable standards as published in the most
recent version of the ERCOT Protocols. It is recognized that at the date hereof, it is
ERCOT's responsibility to read meters for settlement purposes. Seller consents to
allowing Buyer, its Qualified Scheduling Entity ("QSE) and its Master QSE or Buyer's
designated QSE Subcontractor, as provided for herein, to (a) read the Metering
Equipment at Seller's Revenue Quality Meter located at the high side of the Forest Creek
step-up transformer; and (b) review Seller's virtual generation meter information
associated with the Net Energy for informational purposes, as provided for in the ERCOT
Protocols. Any adjustment to prior meter readings shall be made and settled in
accordance with ERCOT Protocols, and the amount of Net Energy shall be appropriately
adjusted to reflect such adjustment to prior meter readings.

        3.      Master Qualified Schedulin~Entity. Buyer agrees that independent of, and
in addition to, its obligations as Seller's QSE as more fully set forth in Section 5.06 of the
PPA, Buyer shall cooperate and coordinate with the Master Qualified Scheduling Entity
("Master Q S E ) providing services on behalf of the Projects in accordance with this
Agreement and the ERCOT Protocols $10.3.2.1 et seq. as amended from time to time.
Buyer shall provide information and take other action as reasonably requested by the
Master QSE or Seller to facilitate performance of the Master QSE obligations set forth in
the ERCOT Protocols. Seller shall designate, in Seller's sole discretion, a Master QSE
qualified by ERCOT to perform the Master QSE services for both the Forest Creek
Project and the Sand Bluff Project.

       4.      Exhibit 6.01A. Exhibit 6.01A of the PPA is hereby amended as follows:

             In the column titled "Year," the year "2024" appears twice in successive
rows. The second such row is hereby deleted and replaced with the following row:

               Year                                   Price



       5.      Notices. Section 12.04A of the PPA is hereby amended as follows:

       The electronic funds transfer instructions for Buyer are hereby deleted and
       replaced with the following:

       (3)     Information concerning electronic fund transfers:

               If to Buyer:
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                       JPMorgan Chase Bank
                       Dallas, Texas
                       ABA No. 02 1000021
                       For credit to
                       TXU Portfolio Management Company LP
                       Account No. 0000 088 063 18059

               The address for other notices for Buyer is hereby deleted and replaced with the
               following:

               (4)     All other notices, including administrative notices, shall be sent to:

                       If to Buyer:

                       Manager, Contract Administration
                       TXU Portfolio Management Company LP
                       1717 Main Street, Suite 2000
                       Dallas, Texas 75201
                       Facsimile: (214) 875-9066

              6.     Exhibit 6.02D. Exhibit 6.02D of the PPA is hereby replaced with a new
Exhibit 6.02D attached to this Amendment.

               7.      Miscellaneous

              a.     Amendments. Except as expressly set forth herein, the PPA shall remain
unmodified and is hereby ratified and confirmed in each and every respect. All references in the
PPA to the "Agreement" shall be deemed to refer to the PPA as amended hereby.

               b.    Counterparts. This Amendment may be executed in multiple counterparts,
each and all of which shall be deemed an original agreement, and all of which shall constitute
one agreement, notwithstanding that all parties are not signatories to the original or the same
counterpart, to be effective as of the day and year first above written.

              c.      Governing Law. This Amendment shall be governed by and construed in
accordance with the laws of the State of Texas.

               d.      Additional Documents. Each party hereto, upon the reasonably request of
any other party hereto, agrees to perform any further acts and execute and deliver any documents
which may be reasonably necessary to carry out the provisions of this Amendment.

                e.     Validity. Should any portion of this Amendment be declared invalid and
unenforceable, then such portion shall be deemed to be severable from this Amendment and shall
not affect the remainder hereof, and the parties hereto shall work together in good faith to replace
such invalid or unenforceable provision.

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        IN WITNESS WHEREOF, the parties hereto have executed this First Amendment to
Renewable Energy and Renewable Energy Credits Purchase Agreement effective as of the date
first above written.


             Seller:              AIRTRICITY FOREST CREEK WIND FARM, LLC,
                                  a Delaware limited liability co
                                                             PY
                                  By:
                                  Name: Ciaran O'Brien
                                  ~ i t l ~ Senior
                                            :      Vice President-Finance



             Buyer:               TXU PORTFOLIO MANAGEMENT COMPANY
                                  LP, a Texas limited partnership

                                  By:     TXU PORTFOLIO OPTIMIZATION
                                          COMPANY, LLC, its General Partner

                                          By:
                                          Name:
                                          Title:
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        IN WITNESS WHEREOF, the parties hereto have executed this First Amendment to
Renewable Energy and Renewable Energy Credits Purchase Agreement effective as of the date
first above written.


             Seller:              AIRTRICITY FOREST CREEK WIND FARM, LLC,
                                  a Delaware limited liability company


                                  By:
                                  Name:
                                  Title:


             Buyer:               TXU PORTFOLIO MANAGEMENT COMPANY
                                  LP, a Texas limited partnership

                                  By:      TXU PORTFOLIO OPTIMIZATION
                                           COMPANY, LLC, its General Partner



                                           By:   &vA&/
                                                 Name: Mike McCall
                                                 Title: Chairman of the Board, President
                                                        and Chief Executive
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EXHIBIT 6.02D

TXU RECPA SECTION 6.02 ANNUAL RECONCILIATION WORKSHEET (Example covering
years 1-10only)




                                                                                                      Net
                                         Annual     Annual Full-    Annual               Net Full    Half     Annual
                                                       Price       Half Prlce   Annual    Prlce      Prlce   ~alf-price      Net
                                                                                                    -
                                                                                                    Excess   Deficiency   Deficiency


                                                                                                      0          0            0

                                                                                                      0          0            0

                                                                                                      0          0            0

                                                                                                      0          0            0

                                                                                                      0          0            0

                                                                                                      0       154,200      154,200

                                                                                                      0          0            0

                                                                                                      0          0            0

                                                                                                      0          0            0

                                                                                                      0          0            0


                                                                                                    -
                                                                                                    34,540       0            0




Half-Price Trigger




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